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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

ENTROPIC COMMUNICATIONS, LLC,

         Plaintiff,                                        Case No. 2:22-cv-00075-JRG
                                                                  (Lead Case)
         v.
                                                           JURY TRIAL DEMANDED
DIRECTV, LLC, AT&T SERVICES, INC.,

         Defendants.


ENTROPIC COMMUNICATIONS, LLC,
                                                          Case No. 2:22-cv-00076-JRG-RSP
         Plaintiff,                                                (Member Case)

         v.

DISH NETWORK CORPORATION;
DISH NETWORK L.L.C.; AND DISH
NETWORK SERVICE L.L.C.,

         Defendants.


                                  DOCKET CONTROL ORDER

          In accordance with the scheduling conference held in this case, it is hereby ORDERED

 that the following schedule of deadlines is in effect until further order of this Court:

     October 16, 2023         *Jury Selection – 9:00 a.m. in Marshall, Texas

     September 18, 2023       * If a juror questionnaire is to be used, an editable (in Microsoft Word
                              format) questionnaire shall be jointly submitted to the Deputy Clerk
                              in Charge by this date.1

     September 11, 2023       *Pretrial Conference – 9:00 a.m. Marshall, Texas before Judge
                              Rodney Gilstrap


 1
  The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
 Advance of Voir Dire.
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    September 5, 2023       *Notify Court of Agreements Reached During Meet and Confer

                            The parties are ordered to meet and confer on any outstanding
                            objections or motions in limine. The parties shall advise the Court of
                            any agreements reached no later than 1:00 p.m. three (3) business
                            days before the pretrial conference.

    September 5, 2023       *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint
                            Proposed Verdict Form, Responses to Motions in Limine, Updated
                            Exhibit Lists, Updated Witness Lists, and Updated Deposition
                            Designations

    August 28, 2023         *File Notice of Request for Daily Transcript or Real Time Reporting.

                            If a daily transcript or real time reporting of court proceedings is
                            requested for trial, the party or parties making said request shall file
                            a notice with the Court and e-mail the Court Reporter, Shawn
                            McRoberts, at shawn_mcroberts@txed.uscourts.gov.

    August 23, 2023         File Motions in Limine

                            The parties shall limit their motions in limine to issues that if
                            improperly introduced at trial would be so prejudicial that the Court
                            could not alleviate the prejudice by giving appropriate instructions to
                            the jury.

    August 23, 2023         Serve Objections to Rebuttal Pretrial Disclosures

    August 16, 2023         Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
                            Disclosures

    August 2, 2023          Serve Pretrial Disclosures (Witness List, Deposition Designations,
                            and Exhibit List) by the Party with the Burden of Proof

    July 24, 2023           *Response to Dispositive Motions (including Daubert Motions).
                            Responses to dispositive motions that were filed prior to the
                            dispositive motion deadline, including Daubert Motions, shall be due
                            in accordance with Local Rule CV-7(e), not to exceed the deadline
                            as set forth in this Docket Control Order.2 Motions for Summary
                            Judgment shall comply with Local Rule CV-56.

2
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
Motions, the deadline for Response to Dispositive Motions controls.
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July 10, 2023        *File Motions to Strike Expert Testimony (including Daubert
                     Motions)

                     No motion to strike expert testimony (including a Daubert motion)
                     may be filed after this date without leave of the Court.

July 10, 2023        *File Dispositive Motions

                     No dispositive motion may be filed after this date without leave of
                     the Court.

                     Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
                     Motions to extend page limits will only be granted in exceptional
                     circumstances. Exceptional circumstances require more than
                     agreement among the parties.

June 28, 2023        Deadline to Complete Expert Discovery

June 14, 2023        Serve Disclosures for Rebuttal Expert Witnesses

May 10, 2023         Deadline to Complete Fact Discovery and File Motions to Compel
                     Discovery

May 17, 2023         Serve Disclosures for Expert Witnesses by the Party with the Burden
                     of Proof

May 2, 2023          Comply with P.R. 3-7 (Opinion of Counsel Defenses)

April 11, 2023       *Claim Construction Hearing – 9:00 a.m. in Marshall, Texas before
                     Judge Rodney Gilstrap

March 28, 2023       *Comply with P.R. 4-5(d) (Joint Claim Construction Chart)

March 21, 2023       *Comply with P.R. 4-5(c) (Reply Claim Construction Brief)

March 14, 2023       Comply with P.R. 4-5(b) (Responsive Claim Construction Brief)

February 28, 2023    Comply with P.R. 4-5(a) (Opening Claim Construction Brief) and
                     Submit Technical Tutorials (if any)

                     Good cause must be shown to submit technical tutorials after the
                     deadline to comply with P.R. 4-5(a).
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    February 28, 2023    Deadline to Substantially Complete Document Production and
                         Exchange Privilege Logs

                         Counsel are expected to make good faith efforts to produce all
                         required documents as soon as they are available and not wait until
                         the substantial completion deadline.

    February 14, 2023    Comply with P.R. 4-4 (Deadline to Complete Claim Construction
                         Discovery)

    February 7, 2023     File Response to Amended Pleadings

    February 1, 2023     Disclose rebuttal expert testimony consistent with Fed. R. Civ. P.
                         26(a)(2)(B)(i)–(ii) or 26(a)(2)(C).

    January 24, 2023     *File Amended Pleadings

                         It is not necessary to seek leave of Court to amend pleadings prior to
                         this deadline unless the amendment seeks to assert additional patents.

    January 16, 2023     Comply with P.R. 4-3 (Joint Claim Construction Statement)

    December 22, 2022    Comply with P.R. 4-2 (Exchange Preliminary Claim Constructions)

    December 1, 2022     Comply with P.R. 4-1 (Exchange Proposed Claim Terms)

    July 29, 2022        Comply with Standing Order Regarding Subject-Matter Eligibility
                         Contentions3

    July 29, 2022        Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)

    June 8, 2022         *File Proposed Protective Order and Comply with Paragraphs 1 & 3
                         of the Discovery Order (Initial and Additional Disclosures)

                         The Proposed Protective Order shall be filed as a separate motion
                         with the caption indicating whether or not the proposed order is
                         opposed in any part.

    June 1, 2022         *File Proposed Docket Control Order and Proposed Discovery Order

                         The Proposed Docket Control Order and Proposed Discovery Order
                         shall be filed as separate motions with the caption indicating whether
                         or not the proposed order is opposed in any part.


3
 http://www.txed.uscourts.gov/sites/default/files/judgeFiles/EDTX%20Standing%20Order%20R
e%20Subject%20Matter%20Eligibility%20Contentions%20.pdf [https://perma.cc/RQN2-YU5P]
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 May 25, 2022                Join Additional Parties

 May 4, 2022                 Comply with P.R. 3-1 & 3-2 (Infringement Contentions)
(*) indicates a deadline that cannot be changed without showing good cause. Good cause is
not shown merely by indicating that the parties agree that the deadline should be changed.

                               ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

        Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
“[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
an Order granting leave to designate different lead counsel.
        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;
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(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

      Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above
   . under “Amendments to the Docket Control Order (‘DCO’).”

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
shall also specify the nature of each theory of infringement, including under which subsections of
35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
written description, enablement, or any other basis for invalidity. The Defendant shall also specify
each prior art reference or combination of references upon which the Defendant shall rely at trial,
with respect to each theory of invalidity. The contentions of the Parties may not be amended,
supplemented, or dropped without leave of the Court based upon a showing of good cause.

       So ORDERED and SIGNED this 2nd day of June, 2022.




                                                            ____________________________________
                                                            RODNEY GILSTRAP
                                                            UNITED STATES DISTRICT JUDGE
